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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA

   UNITED STATES OF AMERICA, and        )
   THE OSAGE MINERALS COUNCIL,          )
                                        )
                Plaintiffs,             )
                                        )
   vs.                                  )      Case No. 14-CV-704-GKF-JFJ
                                        )
   OSAGE WIND, LLC;                     )
   ENEL KANSAS, LLC; and                )
   ENEL GREEN POWER NORTH               )
   AMERICA, INC.,                       )
                                        )
                Defendants.             )



    DEFENDANTS’ SECOND MOTION TO COMPEL AGAINST THE UNITED STATES



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                                        OSAGE WIND, LLC, ENEL KANSAS, LLC
                                        AND ENEL GREEN POWER NORTH
                                        AMERICA, INC.
   Dated: August 19, 2021
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           In accordance with FED. R. CIV. P. 37(a)(3)(B)(iii) and (iv) and LCvR 37.1, Defendants,

   Osage Wind, LLC (“Osage Wind”), Enel Kansas, LLC (“Enel Kansas”), and Enel Green Power

   North America, Inc. (“EGPNA”) (collectively, “Defendants”), respectfully request that the Court

   enter an Order requiring the Plaintiff, the United States of America (the “United States”), to

   respond to interrogatories and requests for production served by Enel Kansas. The information

   and communications sought are relevant—especially under the discovery standard of relevance—

   to the claims by the United States, and plaintiff in intervention the Osage Minerals Counsel

   (“OMC”), for damages and permanent injunctive relief for trespass, conversion, and other claims

   made in the United States’ First Amended Complaint, Dkt. # 20.

                                              BACKGROUND

           Movants adopt and incorporate herein the “Background section,” and any accompanying

   exhibits, of Defendant Osage Wind, LLC’s First Motion to Compel the United States, Dkt. # 177

   (Aug. 12, 2020).

                                    PROCEDURAL ISSUES IN THIS CASE

           Movants adopt and incorporate herein paragraphs 1 through 9 of the “Procedural Issues in

   this Case” section, and any accompanying exhibits, of Defendant Osage Wind, LLC’s First Motion

   to Compel the United States, Dkt. # 177 (Aug. 12, 2020). In addition, Movants assert the following

   relevant facts:

           1.        Defendants filed their answer to the United States’ First Amended Complaint. Dkt.

   # 99.

           2.        The United States moved to strike the Defendants’ answer to the First Amended

   Complaint on the grounds that it was untimely and that the Tenth Circuit’s Opinion precluded any

   affirmative defenses in this case. Dkt. # 102.



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          3.      The Court denied the motion to strike on April 13, 2020. Dkt. # 135. In the Order,

   the Court stated that “issues determined by the Tenth Circuit are law-of-the-case and affirmative

   defenses going to those issues shall not be considered on remand.” Id.

          4.      The OMC filed its Complaint in Intervention. Dkt. # 136. Defendants filed a partial

   motion to dismiss the OMC’s Complaint in Intervention, Dkt. # 150, and a motion to strike certain

   allegations in the OMC’s Complaint in Intervention, Dkt. # 151.

          5.      The Court granted in part the partial motion to dismiss on July 1, 2020. Dkt. # 161.

   In that Order, the Court “restrict[ed] OMC’s remedies to those sought by the United States in the

   First Amended Complaint” and dismissed “OMC’s allegations of intentional, willful, or bad faith

   conduct and certain equitable relief,” including disgorgement of profits, accounting of all revenue,

   and unjust enrichment. Id.

          6.      The Court also granted in part the motion to strike on July 1, 2020. Dkt. # 162. In

   that Order, the Court struck allegations of “bad faith conduct” of Defendants and of third parties,

   allegations regarding revenue from the Project and other financial information, and allegations of

   health harms caused by the Project from the OMC’s Complaint in Intervention. Id.

          7.      The Court subsequently ordered that “[D]efendants’ alleged bad faith remains at

   issue in this lawsuit to the extent tied to Osage Wind’s alleged status as an ‘innocent trespasser.’”

   Dkt. # 171.

          8.      The OMC filed its First Amended Complaint in Intervention, Dkt. # 164, to which

   Defendants filed their Answer, Dkt. # 174.

          9.      The OMC filed a Motion for Judgment on the Pleadings. Dkt. # 204. In the Motion

   for Judgment on the Pleadings, the OMC sought judgment on Defendants’ affirmative defenses of

   estoppel, laches, waiver, unclean hands, and in pari delicto. Id.



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          10.     The Court granted the Motion for Judgment on the Pleadings. Dkt. # 207. With

   respect to laches, the Court concluded the Tenth Circuit’s ruling on laches was law of the case. Id.

   The Court concluded the other defenses challenged were state-law based and thus inapplicable to

   the claims by the United States and the OMC. Id.

          11.     Since late 2019, the parties have exchanged written discovery, and a total of four

   motions to compel were filed in late 2020: Osage Wind’s First Motion to Compel against the

   United States, Dkt. # 177; Defendants’ First Motion to Compel against the OMC, Dkt. # 179;

   United States’ Motion to Compel, Dkt. # 175; and the OMC’s Motion to Compel, Dkt. # 183. Each

   of these motions were referred to Magistrate Judge Jayne. Dkt. # 176; Dkt. # 178; Dkt. # 180.

          12.     Two Orders were issued with respect to the various motions to compel, Dkt. # 210

   and 214. The first, issued January 16, 2021, ruled on a number of issues, including whether

   Defendants had waived privilege for a limited number of communications. Defendants sought

   communications between and among the United States and the OMC and/or the Osage Nation

   related to the Project. The Court concluded the requested discovery was not relevant to Plaintiffs’

   claims for permanent injunction and ejectment, concluding “the ‘balancing of equities’ under

   Davilla “does not include any backward-looking considerations of past conduct or knowledge.”

   Dkt. # 210 at 23, citing, Davilla v. Enable Midstream Partners L.P., 913 F.3d 959 (10th Cir. 2019).

   The Court did not address whether Davilla or other authority foreclosed backward looking

   evidence with respect to damages or other remedies.

          13.     Defendants filed partial objections to Judge Jayne’s Orders, specifically objecting

   to the ruling on relevancy under Davilla. Dkt. # 218, at 10-11, 15-16.

          14.     The Court denied the Defendants’ objections by order dated May 21, 2021. Dkt. #

   226. The Court upheld the conclusion that, applicable to permanent injunctive relief, Davilla:



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           explicitly required consideration of the following factors in cases of continuing
           trespass to Indian land: (1) whether an injunction is necessary to prevent irreparable
           harm, (2) whether the threatened injury outweighs the harm that the injunction may
           cause to the enjoined party, and (3) whether the injunction would adversely affect
           the public interest. The factors reflect the prospective nature of injunctive relief,
           and focus on the future effect of the requested relief. . . . [I]n this case, the court
           will consider the relative costs and benefits of removal, both as to the parties hereto
           and the public at large.

   Dkt. # 226 at 8 (quotation marks and citations omitted). The Court did not address whether Davilla

   applied to determining appropriate damage remedies, including damages, id. at 6-11, and it does

   not. Davilla 913 F.3d at 969-74.

           15.     In denying Defendants’ objections, the Court noted that it did not “consider the

   potential relevance of the requested discovery to Osage Wind’s good faith in proceeding without

   a lease, as Osage Wind raised this argument for the first time in its reply in support of its

   Objection.” Dkt. # 226 at 12 n.9.

           16.     Defendants have sought reconsideration of the Court’s order denying Defendants’

   objections and the Court’s orders on affirmative defenses. Dkt. # 229. The motion to reconsider

   has been fully briefed and is pending before the Court.

                                       DISPUTED DISCOVERY ISSUES

           The responses from the United States to Enel Kansas’ second set of interrogatories and

   requests for production, served July 21, 2021, are the subject of this Motion. A copy of those

   responses is attached hereto as Exhibit A. The specifically disputed discovery responses are set

   out in full as follows:

           Enel Kansas Interrogatory No. 11: Identify all instances since 2010 in which You
           asserted in formal litigation or in correspondence that a person had extracted or
           used limestone or other hard minerals in Osage County without the proper lease or
           permit authorizing such extraction or use.

           Response to Interrogatory No. 11: Plaintiff objects to Interrogatory No. 11 on
           grounds that it is compound and contains more than one discrete, separate question.

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         The Interrogatory seeks information that is neither relevant nor reasonably
         calculated to lead to the discovery of admissible evidence. Plaintiff further objects
         to and does not answer Interrogatory 11 on the grounds that it is specifically barred
         by the Court’s Opinions and Orders of January 11, 2021 (Dkt. 207), January 16,
         2021 (Dkt. 210) and May 21, 2021 (Dkt. 226). As Defendants well know, the Court
         has ruled that permitting parties, such as Defendants, “to avoid [Part 214’s] stringent
         leasing requirements by pointing to the Nation’s own conduct would frustrate
         federal Indian land policy.” Dkt. 207 at 7-8. Defendants’ discovery requests are
         overly burdensome to the extent Defendants continue to propound discovery,
         knowing full well the interrogatories and requests are contrary to the law of the case
         and the express discovery orders entered in this case. Defendants apparent tactic of
         propounding improper discovery, while admitting in a recently filed, long overdue
         motion for reconsideration that such discovery is foreclosed by the current law of
         the case, is overtly vexatious and harassing to Plaintiff.

         Enel Kansas Interrogatory No. 12: For each piece of litigation or correspondence
         identified in your response to Interrogatory No. 11, identify all remedies sought by
         You in such litigation or correspondence.

         Response to Interrogatory No. 12: Plaintiff objects to Interrogatory No. 12 as the
         phrase “all remedies” is vague and ambiguous and susceptible to multiple
         interpretations. The Interrogatory is overly broad to the extent it seeks the
         identification of “all remedies” sought by certain agencies of the United States.
         Plaintiff further objects to Interrogatory No. 12 as it is neither relevant nor
         reasonably calculated to lead to the discovery of admissible evidence. Plaintiff
         further objects to and does not answer Interrogatory 12 on the grounds that it is
         specifically barred by the Court’s Opinions and Orders of January 11, 2021 (Dkt.
         207), January 16, 2021 (Dkt. 210) and May 21, 2021 (Dkt. 226). As Defendants
         well know, the Court has ruled that permitting parties, such as Defendants, “to
         avoid [Part 214’s] stringent leasing requirements by pointing to the Nation’s own
         conduct would frustrate federal Indian land policy.” Dkt. 207 at 7-8. Defendants’
         discovery requests are overly burdensome to the extent Defendants continue to
         propound discovery, knowing full well the interrogatories and requests are contrary
         to the law of the case and the express discovery orders entered in this case.
         Defendants apparent tactic of propounding improper discovery, while admitting in
         a recently filed, long overdue motion for reconsideration that such discovery is
         foreclosed by the current law of the case, is overtly vexatious and harassing to
         Plaintiff.

         Enel Kansas Interrogatory No. 21: Identify all communications whether oral or
         via any document between the United States Attorney’s Office for the Northern
         District of Oklahoma and/or the Bureau of Indian Affairs, on the one hand, and the
         OMC or the Osage Nation, on the other, between September 30, 2015 and
         November 30, 2015 regarding the decision by plaintiff the United States not to
         appeal the Opinion and Order and Judgment entered September 30, 2015 (Dkt. #
         44 and 45).

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          Response to Interrogatory No. 21: Plaintiff objects to the Interrogatory based on
          privileged communication regarding a joint interest in litigation. Further, the
          Interrogatory is wholly irrelevant and not reasonably calculated to lead to the
          discovery of admissible evidence. Further, Interrogatory 20 is specifically barred
          by the Court’s Opinions and Orders of January 11, 2021 (Dkt. 207), January 16,
          2021 (Dkt. 210) and May 21, 2021 (Dkt. 226). Finally, this request, like many of
          the items included in this latest round of unduly burdensome and harassing
          discovery is duplicative of earlier discovery propounded on the United States
          months ago. See Plaintiff United States of America’s Responses to Defendant,
          Osage Wind, LLC’s First Set of Interrogatories and Requests for Production at
          Requests 13; Plaintiff United States of America’s Second Supplemental Responses
          to Defendant, Osage Wind, LLC’s First Set of Interrogatories and Requests for
          Production and Second Supplemental Responses to Defendant, Osage Wind, LLC’s
          Second Requests for Production at Interrogatories No. 5, 6 & 7, Requests 4, 5 6,
          and 15. The United States strenuously objects to Defendants’ repeated, vexatious
          and harassing technique of allowing issues to become stale, only to attempt to
          revive the issue after many months have passed. Defendants did so by seeking
          untimely consideration of the Court’s Opinions and Orders of January 11, 2021
          (Dkt. 207) and May 21, 2021 (Dkt. 226). Now, Defendants are re-asking questions
          previously asked and responded to by the United States more than a year ago.
          Defendants repeated pattern of failing to timely raise discovery disputes, only to
          cause a vexatious re-visit to issues long settled is not unnoticed.

          Enel Kansas Interrogatory No. 23: Identify all leases from 2000 to present issued
          pursuant to 25 C.F.R. Part 214 for excavation related to a construction of a building
          or any other type of construction project approved by the Bureau of Indian Affairs
          in which minerals excavated were not sold or moved to locations other than the site
          of the original excavation.

          Response to Interrogatory No. 23: Plaintiff objects to Interrogatory No. 23 as it is
          vague and ambiguous, apparently relating to “any other type of construction project”
          for a period of 21 years. Further, as Defendant well knows, the question has been
          asked before and met with a detailed objection. See Plaintiff United States of
          America’s Responses to Defendant, Osage Wind, LLC’s First Set of Interrogatories
          and Requests for Production at Interrogatory No. 9. (As Defendants insist on
          regurgitating Interrogatories and Requests, the United States incorporates the
          objections and responses made to the earlier, substantially similar discovery.)
          "[C]onstruction projects" are not and have not been at issue in this case. Despite
          Defendants’ best efforts to ignore the ruling in this matter from the Tenth Circuit,
          the law of the case is settled. Surface construction activities were differentiated by
          the Tenth Circuit, which expressly found that those activities don't “trigger” the
          definition of mining under the regulations. Dkt. 78 at 25. The interrogatory is also
          objectionable because it requires no nexus to the United States whatsoever. It does
          not seek information that would be in the custody of the United States and, in fact,
          Plaintiff maintains no system of records of "construction projects" in Osage

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          County. Finally, the Interrogatory seeks irrelevant information pursuant to the law
          of the case, as established by the Tenth Circuit. Defendants persist in demanding
          overly broad information concerning “minerals mined and sold,” ignoring the
          Circuit Court holding that the Osage Act did not require that minerals be marketed
          or sold to trigger the definition of mining and the leasing requirements of Part 214.
          Appellate Decision, Dkt. 78 at 19-21. To the extent the Interrogatory appears to be
          seeking approved leases under 25 C.F.R. § 214, please refer to Plaintiff United
          States of America’s Responses to Defendant, Osage Wind, LLC’s First Set of
          Interrogatories and Requests for Production at Interrogatory No. 8 and Request
          Nos. 7 & 8.

          Enel Kansas Interrogatory No. 24: Identify, including by bates numbers if
          already produced, all inquiries, correspondence, requests, or applications you have
          received for a lease under 25 C.F.R. Part 214 for excavation related to a road or
          building construction project, from 2011 to the present, in which minerals
          excavated were not sold or moved to locations other than the site of the original
          excavation.

          Response to Interrogatory No. 24: Plaintiff further objects to Interrogatory No.
          24 as it is neither relevant nor reasonably calculated to lead to the discovery of
          admissible evidence. The law of the case in this matter is clear – Defendants were
          required to obtain a lease but failed to do so. “[C]onstruction project[s]” and “road”
          “construction” are not and have not been at issue in this case. Despite Defendants’
          best efforts to ignore the ruling in this matter from the Tenth Circuit, the law of the
          case is settled. Surface construction activities were differentiated by the Tenth
          Circuit, which expressly found that those activities don’t “trigger” the definition of
          mining under the regulations. Dkt. 78 at 25. Plaintiff maintains no system of records
          of “construction projects” in Osage County. Interrogatory No. 24 seeks irrelevant
          information pursuant to the law of the case, as established by the Tenth Circuit.
          Defendants persist in demanding overly broad information concerning minerals
          “sold” or “not sold,” ignoring the Circuit Court holding that the Osage Act did not
          require that minerals be marketed or sold to trigger the definition of mining and the
          leasing requirements of Part 214. Appellate Decision, Dkt. 78 at 19-21. Plaintiff
          further objects to and does not answer Interrogatory 24 on the grounds that it is
          specifically barred by the Court’s Opinions and Orders of January 11, 2021 (Dkt.
          207), January 16, 2021 (Dkt. No. 210) and May 21, 2021 (Dkt. 226). To the extent
          the Interrogatory appears to be seeking approved leases under 25 C.F.R. § 214,
          please refer to Plaintiff United States of America’s Supplemental Responses to
          Defendant, Osage Wind, LLC’s First Set of Interrogatories and Requests for
          Production at Interrogatory No. 8, Request Nos. 7 & 8.

          Enel Kansas Request for Production No. 16: Produce all documents referred to
          or relied upon in responding to Interrogatory No. 23 served herewith.

          Response to Request No. 16: Please see the response to Interrogatory No. 23,
          which is incorporated here. To the extent the Request appears to be seeking

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          approved leases under 25 C.F.R. § 214, please refer to Plaintiff United States of
          America’s Supplemental Responses to Defendant, Osage Wind, LLC’s First Set of
          Interrogatories and Requests for Production at Interrogatory No. 8, Requests 7 &
          8.

          Enel Kansas Request for Production No. 17: Produce all documents referred to
          or relied upon in responding to Interrogatory No. 24 served herewith.

          Response to Request No. 17: Please see the response to Interrogatory No. 24,
          which is incorporated here. To the extent the Request appears to be seeking
          approved leases under 25 C.F.R. § 214, please refer to Plaintiff United States of
          America’s Supplemental Responses to Defendant, Osage Wind, LLC’s First Set of
          Interrogatories and Requests for Production at Interrogatory No. 8, Requests 7 &
          8.

          Enel Kansas Request for Production No. 21: Produce, or identify by bates
          numbers if already produced, all inquiries, correspondence, requests, or
          applications you have received for a lease under 25 C.F.R. Part 214 for a wind,
          solar, battery, or other renewable energy project, from 2011 to the present.

          Response to Request No. 21: Plaintiff objects to Request for Production No. 21 as
          it is vague and ambiguous. Plaintiff further objects to Request for Production No.
          21 as it is neither relevant nor reasonably calculated to lead to the discovery of
          admissible evidence as it seeks information for “solar, battery, or other renewable
          energy project[s]”. Plaintiff further objects to and does not answer Request for
          Production No. 21 on the grounds that it is specifically barred by the Court’s
          Opinions and Orders of January 16, 2021 (Dkt. 210) and May 21, 2021 (Dkt. 226).
          Without waiving the above objections, to the extent the Request appears to be
          seeking information related to leases under 25 C.F.R. § 214, please refer to Plaintiff
          United States of America’s Supplemental Responses to Defendant, Osage Wind,
          LLC’s First Set of Interrogatories and Requests for Production at Interrogatory No.
          8, Requests 7 & 8.

          Enel Kansas Request for Production No. 22: Produce, or identify by bates
          numbers if already produced, all inquiries, correspondence, requests, or
          applications you have received for a lease under 25 C.F.R. Part 214 for excavation
          related to a road or building construction project, from 2011 to the present.

          Response to Request No. 22: Please see the responses to Interrogatories 23 and
          24, which are incorporated here. Without waiving the above objections, to the
          extent the Request appears to be seeking approved leases under 25 C.F.R. § 214,
          please refer to Plaintiff United States of America’s Supplemental Responses to
          Defendant, Osage Wind, LLC’s First Set of Interrogatories and Requests for
          Production at Interrogatory No. 8, Request Nos. 7 & 8.




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             Enel Kansas Request for Production No. 24: Produce, or identify by bates
             numbers if already produced, all correspondence between the United States
             Attorney’s Office for the Northern District of Oklahoma and/or the Bureau of
             Indian Affairs, on the one hand, and the OMC or the Osage Nation, on the other,
             between September 30, 2015 and November 30, 2015 regarding the decision by
             plaintiff the United States not to appeal the Opinion and Order and Judgment
             entered September 30, 2015 (Dkt. # 44 and 45).

             Response to Request No. 24: Please see the response to Interrogatory No. 21, which
             is incorporated here. This request, like many of the items included in this latest round
             of unduly burdensome and harassing discovery, is duplicative of earlier discovery
             propounded on the United States months ago. See Plaintiff United States of
             America’s Responses to Defendant, Osage Wind, LLC’s First Set of Interrogatories
             and Requests for Production at Requests 13; Plaintiff United States of America’s
             Second Supplemental Responses to Defendant, Osage Wind, LLC’s First Set of
             Interrogatories and Requests for Production and Second Supplemental Responses to
             Defendant, Osage Wind, LLC’s Second Requests for Production at Interrogatories
             No. 5, 6 & 7, Requests 4, 5 6, and 15. The United States strenuously objects to the
             Defendants’ repeated, vexatious and harassing technique of allowing issues to
             become stale, only to attempt to revive the issue after many months have passed.
             Defendants did so with respect to court’s Opinions and Orders of January 16, 2021
             (Dkt. 210) and May 21, 2021 (Dkt. 226). Defendants are re-asking questions
             previously responded to, in an apparent attempt to create or revive a very stale
             discovery dispute.

                                      CERTIFICATION OF CONFERENCE

             In accordance with Fed. R. Civ. P. 37(a)(2)(A) and LCvR. 37.1, Osage Wind advises the

    Court that its counsel, Ryan A. Ray, Robin D. Ball, Lynn H. Slade, Sarah M. Stevenson, and

    Dominic A. Martinez, conferred in good faith with counsel for the United States, Cathryn

    McClanahan and Nolan Fields IV, via telephone on August 13, 2021, but have been unable to

    resolve these discovery issues. However, in the meet and confer, Defendants proposed to limit the

    temporal scope of all discovery requests to the United States at issue on this Motion to “from 2010

    to the present.” Consequently, only those time periods remain at issue for consideration by this

    Court.


                                                INTRODUCTION



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           This Motion presents critical issues determining whether Defendants are foreclosed from

    presenting a full defense to the remedial claims asserted in this case. Under the broad relevancy

    standards of FED. R. CIV. P. 26, see Point I, infra, the Court should reject the United States’ effort

    to foreclose discovery into its actions and procedures directly relating to the regulatory setting in

    which the United States claims Defendants acted in “bad faith” in excavating minerals without a

    25 C.F.R. Part 214 mining lease because they “knew or should have known” such a lease was

    required. See Point II, infra. The Court should also reject the United States’ effort to foreclose

    discovery into its actions and policies that bear on the permanent injunction test under Davilla v.

    Enable Midstream Partners, L.P., 913 F.3d 959 (10th Cir. 2019) — and to prevent consideration

    of the Plaintiffs’ prior leasing actions in determining proper damages.. See Point III, infra. The

    Court should compel the requested discovery because neither the prior rulings in this case nor the

    standards applicable under the Federal Rules support the United States’ efforts to broadly curtail

    discovery.


                                      ARGUMENT AND AUTHORITIES

    I.     THE SCOPE OF DISCOVERY AND DEFINITION OF DISCOVERY RELEVANCE ARE BROAD.

           FED. R. CIV. P. 26(b)(1) provides that “[p]arties may obtain discovery regarding any

    nonprivileged matter that is relevant to any party's claim or defense and proportional to the needs

    of the case . . . .” “The Federal Rules of Civil Procedure are designed to allow liberal pretrial

    discovery ‘to make the task of the trier of fact more manageable by means of an orderly

    presentation of complex issues of fact.’” B.H. v. Gold Fields Mining Corp., No. 04-CV-0564-

    CVE-PJC, 2006 WL 3757809, *3 (N.D. Okla. Dec. 19, 2006) (quoting Smith v. Ford Motor Co.,

    626 F.2d 784, 797 (10th Cir. 1980)). Accordingly, it is well established that pretrial discovery is

    “accorded a broad and liberal treatment.” Hickman v. Taylor, 329 U.S. 495, 507 (1947); see also


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    Centurion Indus., Inc. v. Warren Steurer & Assocs., 665 F.2d 323, 326 (10th Cir. 1981) (explaining

    that “relevancy is construed more broadly during discovery than at trial”). “Liberal discovery rules

    provide parties with the fullest possible knowledge of the operative facts of the case before trial to

    reduce surprise and ensure that cases are decided on the merits.” Perez v. El Tequila LLC, No. 12-

    CV-588-JED-PJC, 2014 U.S. Dist. LEXIS 149372, at *15 (N.D. Okla. Oct. 20, 2014).

           Objections stating that requests are overly broad and burdensome are meritless absent

    factual support. Cohlmia v. Ardent Health Servs., LLC, No. 05-CV-384-GKF-PJC, 2008 U.S.

    Dist. LEXIS 92831, at *9 (N.D. Okla. Nov. 14, 2008) (“A party resisting discovery on the ground

    that the requests are overly broad has the burden of supporting its objection, unless the request is

    overly broad on its face.”); see also Snowden v. Connaught Lab, 137 F.R.D. 325, 332 (D. Kan.

    1991) (“burden is on the party objecting to show that responding to the discovery is unduly

    burdensome”); Burke v. New York City Police Dep’t, 115 F.R.D. 220, 224 (S.D.N.Y. 1987)

    (burden is on objecting party to establish irrelevancy). Where courts have considered conclusory

    objections like those asserted here, the boilerplate objections have been denied. See Roseberg v.

    Johns-Manville Corp., 85 F.R.D. 292, 296-97 (E.D. Pa. 1980) (court overruled defendant’s

    objections which repeatedly asserted objections of “overly broad, burdensome, and irrelevant”).

           In fact, a simple, unsupported assertion that a discovery request is “burdensome” has been

    ruled to be neither an answer nor an objection, and may constitute a waiver of any legitimate

    objection. Josephs v. Harris Corp., 677 F.2d 985, 992 (3d Cir. 1982). In asserting a “burdensome”

    objection, the United States must prove that any such burden is unreasonable when balanced

    against Osage Wind’s need for the information being sought. Rich v. Martin Marietta Corp., 522

    F.2d 333, 343 (10th Cir. 1975). The United States has made no showing of any burden, nor has it

    even attempted to do so. Nor can the United States overcome the broad construction afforded



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    relevance at the discovery stage of this proceeding, especially based upon an interpretation of an

    Order that the Judge who issued it has since rejected. See Dkt. # 226, at 12 n.9.

           “Following the 2015 Amendment [to Fed. R. Civ. P. 26], ‘relevance is still to be construed

    broadly to encompass any matter that bears on, or that reasonably could lead to other matter that

    could bear on any party's claim or defense.’” Reibert v. CSAA Fire & Cas. Ins. Co., No. 17-CV-

    350-CVE-JFJ, 2018 U.S. Dist. LEXIS 860, at *6 (N.D. Okla. Jan. 3, 2018) (quoting United States

    ex rel. Shamesh v. CA, Inc., 314 F.R.D. 1, 8 (D.D.C. 2016).         “‘[R]elevance’ in the discovery

    context does not necessarily have the same meaning as ‘relevance’ for purposes of admissibility

    at trial.” Mae Pendleton v. Bd. of Cty. Comm'rs for Okla. Cty., No. CIV-18-707-G, 2020 U.S.

    Dist. LEXIS 41264, at *3-4 (W.D. Okla. Mar. 10, 2020). “‘[R]elevance’ has been broadly defined

    to include ‘any matter that bears on, or that reasonably could lead to other matter[s] that could bear

    on, any issue that is or may be in the case.’” Alfwear, Inc. v. Kulkote, LLC, No. 2:19-cv-00027-

    CW-JCB, 2020 U.S. Dist. LEXIS 129573, at *3 (D. Utah July 21, 2020) (quoting United States v.

    Childs, No. CR-09-146-D, 2018 U.S. Dist. LEXIS 20058, 2018 WL 775018, at *3 (W.D. Okla.

    Feb. 7, 2018) (citations omitted)).

           Since the United States raises principally a relevance objection, it bears the burden of

    establishing that the requested documents are not relevant under the governing standard, Burke,

    115 F.R.D. at 224, and it must provide the Court with specific factual assertions to support their

    relevance objections. Roseberg, 85 F.R.D. at 296-97. As with its other objections, the United

    States has not supplied adequate factual support for it disingenuous relevance objections.

           The purpose of the liberal discovery rules is to ensure that the basic issues or facts are

    disclosed to the fullest extent practicable. With these general principles in mind, the United States’

    responses to Enel Kansas’ Interrogatory Nos. 11, 12, 21, 23, and 24, and Enel Kansas’ Request for



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    Production Nos. 16, 17, 21, 22, and 24 are clearly deficient.

    II.    THE COURT SHOULD COMPEL THE REQUESTED DISCOVERY BECAUSE THE UNITED
           STATES HAS NOT ABANDONED ITS CLAIM THAT DEFENDANTS’ ACTIVITIES THE TENTH
           CIRCUIT CONCLUDED REQUIRED A MINING LEASE WERE DONE IN BAD FAITH.

           In the United States’ First Amended Complaint, it alleged that Defendants “knew or should

    have known that they were required to comply with the express provisions of 25 C.F.R. § 211 or

    25 C.F.R. § 214.” Dkt. # 20, ¶¶ 49, 56, 63. The United States’ allegation that Defendants “knew

    or should have known” that a mining lease was required for the Project “preserve[s] the issue of

    whether Osage Wind qualified as an ‘innocent trespasser[.]’ . . . Thus, defendants’ alleged bad

    faith remains at issue in this lawsuit to the extent tied to Osage Wind’s alleged status as an

    ‘innocent trespasser.’” Dkt. # 171. As recently as July 21, 2021, when the United States served

    the discovery responses at issue in this Motion, the United States stated that it is in the process of

    identifying evidence “that will demonstrate that Defendants, or any of them or any individual

    action on behalf of Defendants, acted in bad faith and were, by no means, an innocent trespasser.”

    Exhibit A (Response to Enel Kansas’ Interrogatory No. 19); see also The United States’ Notice of

    the Court’s Preclusion of Defendants’ Equitable, Affirmative Defenses, Dkt. # 208, ¶ 8. (“Notably,

    the issue of Defendants’ bad faith remains pertinent to damages and remedies, despite the

    preclusion of Defendants’ equitable defenses by the Court.”) To date, the United States has not

    abandoned its allegation that Defendants were bad faith trespassers,1 and the Court has recognized

    that the issue of Defendants’ alleged bad faith remains a live issue. Dkt. # 171.




    1
      The OMC has also argued to the Court that Defendants’ alleged bad faith remains relevant. See,
    e.g., Intervenor Plaintiff Osage Minerals Council’s Motion for Judgment on the Pleadings and
    Brief in Support Thereof, Dkt. # 204 (“Time and time again, this Court has reiterated that at this
    point in the proceedings, ‘the issue that’s really before the court, or will be before the court, is
    whether or not the trespasser here is innocent or is not, or is a bad faith trespasser[.]’”).
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           Nevertheless, the United States has refused to respond to discovery requests, including

    those identified in this Motion,2 that may lead to the discovery of admissible evidence that could

    demonstrate Defendants were, in fact, acting in good faith. Defendants’ planning, construction,

    and excavation activities did not occur in a vacuum—both the United States and the OMC also

    took actions, or failed to act, while the Project was under construction that may be material to

    whether Defendants’ actions were taken in good or in bad faith. Defendants have requested from

    the United States information that is relevant to the question of whether they “knew or should have

    known” that a mining lease was required—but the United States has refused to respond.

           As an example of the United States’ refusal to answer discovery requests relevant to the

    issue of bad faith, the United States objected to, and did not provide complete answers to, Enel

    Kansas’ Interrogatory Nos. 23 and 24, which sought (i) leases issued pursuant to 25 C.F.R. Part

    214 for a construction project in which minerals excavated were not moved from the original

    excavation site, and (ii) inquiries, correspondence, requests and applications for a 25 C.F.R. Part

    214 lease related to such a construction project. See Exhibit A. The crux of the United States’

    objections is that the Interrogatories seek information on topics that were resolved by the Tenth

    Circuit or deemed irrelevant in this Court’s prior discovery rulings. See id. The United States’

    objections are unfounded because the Tenth Circuit did not address Defendants’ alleged bad faith,

    and remanded for consideration of all remedial issues, see generally United States v. Osage Wind,

    LLC, 871 F.3d 1078 (10th Cir. 2017). In turn this Court ruled that bad faith remains at issue, see




    2
     Specifically, the following discovery requests are pertinent to Plaintiffs’ claim that Defendants
    were bad faith trespassers: Enel Kansas’ Interrogatory Nos. 11, 21, 23 and 24, and Request for
    Production Nos. 16, 17, 21, 22, and 24. If this Court compels the United States to respond to these
    discovery requests because they are relevant to the issue of bad faith, Defendants intend to seek
    supplementation of the United States’ responses to Osage Wind’s Interrogatory Nos. 5, 6, and 7,
    and Request for Production Nos. 4, 5, and 6, which also pertain to Defendants’ alleged bad faith.
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    Dkt. # 171 at 3, and expressly did not consider bad faith in its previous discovery rulings, see Dkt.

    # 226, at 12 n.9 (the Court did not “consider the potential relevance of the requested discovery to

    Osage Wind’s good faith in proceeding without a lease, as Osage Wind raised this argument for

    the first time in its reply in support of its Objection.”). Interrogatory Nos. 23 and 24 are relevant

    to the issue of alleged bad faith because they seek information affecting Defendants’ knowledge

    and notice—or lack thereof—that a 25 C.F.R. Part 214 lease was required for their specific

    construction and excavation activities on the Project. Whether Defendants knew or should have

    known that a mining lease was required depends on what was knowable around the time of

    Defendants’ construction and excavation activities for the Project. If 25 C.F.R. Part 214 leases

    were routinely issued for construction projects where excavated minerals were neither sold nor

    relocated from the excavation site, or if 25 C.F.R. Part 214 leases were routinely requested for

    such construction projects, then Defendants’ diligent efforts to ascertain such facts would have led

    to information supporting they arguably “should have known” that a mining lease was required.

    But, if 25 C.F.R. Part 214 leases were never issued, requested, or sought for construction projects

    similar to the Project, that would lend credence to Defendants’ argument that they believed in good

    faith that they did not need to obtain a lease. The United States should not be permitted to refuse

    to answer Enel Kansas’ Interrogatory Nos. 23 and 243 based on the false premise that the Tenth

    Circuit and this Court have already resolved the issues raised by the Interrogatories.

           The relevance of Defendants’ discovery requests to the United States’ claims and

    Defendants’ defenses to them is further illustrated by the United States’ (and the OMC’s) own




    3
     Enel Kansas’ Request for Production Nos. 16 and 17 ask the United States to “[p]roduce all
    documents referred to or relied upon in responding to” Interrogatory Nos. 23 and 24. Exhibit A.
    Therefore, for the same reasons the United States should be compelled to respond to Interrogatory
    Nos. 23 and 24, it should be compelled to respond to Request for Production Nos. 16 and 17.
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    extensive discovery efforts regarding Defendants’ alleged bad faith in this case. The Plaintiffs

    have deposed witnesses, including Defendants’ employees, extensively regarding Defendants’

    previous knowledge and notice of whether a mining lease was required for the Project—the very

    subject the OMC now considers irrelevant. See, e.g., Deposition of Joan Heredia, relevant portions

    attached hereto as Exhibit B, at 195:18-21 (Counsel for United States: “You would agree that Enel

    was on notice back in 2013, October 2013, that there was an assertion that a minerals lease or

    permit was required?”); Deposition of Bill Price, relevant portions attached hereto as Exhibit C, at

    216:20:24 (Counsel for United States: “So the defendants were unclear what was meant when the

    letter asked for a stop work and then . . . reiterates the need to stop work?”); Deposition of Michael

    Storch, relevant portions attached hereto as Exhibit D, at 173: 4-8 (Counsel for United States: “So

    while you might have not ignored it, someone made a decision that you could go forward based

    on the legal analysis because the defendants’ position was justified despite the cease and desist

    letter?”); Deposition of Aaron Weigel, relevant portions attached hereto as Exhibit E, at 186:3-4

    (“But in your opinion, was he confident the permit was not required or not confident?”). Plaintiffs

    have dedicated hours of deposition time to questions regarding Defendants’ pre-construction and

    pre-excavation knowledge of whether a mining lease was required for the Project, presumably to

    find support for their claims of bad faith and that Defendants “knew or should have known that

    they were required to comply with the express provisions of 25 C.F.R. § 211 or 25 C.F.R. § 214.”

    To mount a defense to Plaintiffs’ allegations, Defendants must be able to conduct discovery on the

    same topics explored by Plaintiffs.

           The United States’ extensive discovery regarding whether Defendants “knew or should

    have known” that a mineral lease was required not only demonstrates the relevance of the

    discovery requests at issue here—it also opens the door to the discovery requests. See, e.g., U.S.



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    Fire Ins. Co. v. Bunge N. Am., Inc., No. 05-2192-JWL-DJW, 2007 WL 1531846, at *5 (D. Kan.

    May 25, 2007) (“By raising a defense, a party opens the door to the discovery concerning that

    defense.”) aff'd, 244 F.R.D. 638 (D. Kan. 2007); FrangranceNet.com, Inc. v. FragranceX.com,

    Inc., No. CV 06-22, 25 (JFB) (AKT) 2007 WL 9710244 at *3 (E.D.N.Y. Aug. 28, 2007)

    (“Discovery is a two-way street. Therefore, if Defendant seeks Plaintiff's corporate books and

    records, it is only fair that Defendant also be required to make its books and records available

    absent a compelling reason to the contrary.”) (internal citations omitted). By asserting that

    Defendants knew or should have known that a mineral lease was required and conducting

    extensive discovery on this issue, the United States has opened the door to discovery and evidence

    establishing that Defendants did not know, and, based on pre-excavation facts, should not have

    known, a lease was required, and therefore could have believed as much in good faith.

           The Court should order the United States to supplement its responses to Enel Kansas’

    Interrogatory Nos. 11, 21, 23, and 24, and Enel Kansas’ Request for Production Nos. 16, 17, 21,

    and 22, because those discovery requests seek information or documents that are relevant to the

    United States’ allegation that Defendants knew or should have known a mining lease was required

    before the United States’ lawsuit was filed.

           In addition, information pertaining to prior leases or remedies demanded for failure to

    secure a pre-mining lease requested in Enel Kansas’ Interrogatories Nos. 11, 12, and 23 and related

    requests to produce also will be pertinent to determining the appropriate damage remedy,

    addressing a dispute between two opposing mining engineering experts on that subject. See

    Deposition of John Pfahl, relevant portions attached hereto as Exhibit F, at 27:11-24 (relying on

    royalty rate provided in mineral lease of quarry on Osage Mineral Estate to calculate value of

    excavated limestone); id. at 28:21-25 (acknowledging reliance on royalty rates provided in prior



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    leases); id. at 35:12-17 (same); Deposition of Robert Freas, relevant portions attached hereto as

    Exhibit G, at 68:17-69:3 (relying on purchase order values, rather than values provided in prior

    leases, to determine royalty rate). The Court should compel answers and responses to permit a full

    and fair presentation of the issues subject to remand.

    III.   THE COURT SHOULD COMPEL RESPONSES TO DISCOVERY REQUESTS THE UNITED
           STATES REFUSED TO ANSWER SPECIFICALLY TARGETED TO THE REMEDIES ISSUES THAT
           REMAIN BEFORE THE COURT.

           Moreover, the United States has refused to respond to Defendants’ discovery requests

    seeking information relevant to the Court’s fashioning of remedies. For example, Enel Kansas’

    Interrogatory Nos. 11 and 12 seek instances in which the United States asserted that a person had

    extracted hard minerals in Osage County without a lease or permit, and all remedies sought by the

    United States for such unauthorized extraction of minerals. See Exhibit A. The United States

    objected to these Interrogatories, claiming that the Court’s prior discovery rulings “specifically

    bar[]” them. Id.

           This argument overstates the Court’s prior rulings, which are premised on evidence

    pertinent only to permanent injunctive relief and on the notion “permitting third-parties to avoid

    liability for violation of the stringent leasing requirements of 25 C.F.R. § 214.7 by pointing to the

    Osage Nation’s own conduct would frustrate federal Indian law policy. Doc. 207 pp. 7-8.”

    (emphasis added). Dkt. # 226, at 10. The Court’s citation to its earlier decision on motion for

    judgment on the pleadings reinforces the view the Court declined to allow pre-suit federal or tribal

    conduct to bar any remedy, but did not intend to exclude it from consideration of the appropriate

    remedy. Dkt. # 207, 7-8 (“Permitting third-parties to avoid these stringent leasing requirements by

    pointing to the Nation’s own conduct would frustrate federal Indian land policy.”). The discovery

    foreclosed is not invoked to deny any remedy for the violation the Tenth Circuit found, but to



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    inform the Court’s determining the appropriate remedy, whether under the three- or four-factor

    test for a permanent injunction, as expressed in Davilla v. Enable Midstream Partners, L.P., 913

    F.3d 959 (10th Cir. 2019), and other cases—or assessing the appropriate damages remedy.

           Evidence regarding the remedies the United States has previously sought when other

    persons had excavated hard minerals in Osage County without a lease (as requested in

    Interrogatory Nos. 11 and 12) will assist the Court in determining the proper remedy to flow from

    Defendants’ construction and excavation activities on the Project. The Court did not preclude

    discovery of the remedies-related information sought in Enel Kansas’ Interrogatory Nos. 11 and

    12. The United States’ refusal to answer Interrogatory Nos. 11 and 12 is unjustified, and this Court

    should compel the United States to answer the Interrogatories in full.

                                 CONCLUSION AND REQUESTED RELIEF

           For the reasons explained above, Osage Wind asks the Court to compel the United States

    to provide complete responses to Enel Kansas’ Interrogatory Nos. 11, 12, 21, 23, and 24, and Enel

    Kansas’ Request for Production Nos. 16, 17, 21, 22, and 24.




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                                    CERTIFICATE OF SERVICE

            I hereby certify that on August 19, 2021, I electronically transmitted the attached Document
    to the Clerk of the Court using the ECF System for filing. Based on the electronic records currently
    on file, the Clerk of the Court will transmit a notice of Electronic Filing to the following ECF
    registrants:

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    Stuart P. Ashworth
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